Case 1:15-cr-00867-RMB Document 365 File Darsjiy, Paige T T
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
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REZA ZARRAB, : S5 15 Cr. 867 (RMB)
a/k/a “Riza Sarraf,” .

Defendant.

The above-named defendant, who is accused of violating
Title 18, United States Code, Sections 371, 1344, 1349, and 1956,
and Title 50, United States Code, Section 1705, being advised of
the nature of the charges and of his rights, hereby waives, in open
Court, prosecution by indictment and consents that the proceeding

may be by information instead of by indictment.

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Defendant

Yuriy.

Witness

“Couns4l for DeferMant

 

Date: New York, New York
October 26, 2017
